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JAMEL ABU sAMAK cAsE No= 91-189 section E‘m

UNIIED STATES OF AMERICA

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Petitioner's Motion for a thirty-day enlargment of time
to file reply to the government's response to
Petitioner's 18 U.S.C. §3582(¢)(2) motion

 

Comes now, Jamal Abu Samak, Petitioner, pro se and hereby submits Peti#
tioner's motion for a thirty-day enlargment of time to file reply to the
government's response to Petitioner's 18 U.S.C. §3582 Motion. In support

of this motion, petitioner will show as follows:

STATEMENT OF FACTS

On September 30, 201&, the government filed it response to Petitioner's
18 U.S.C. §3582 (c)(Z) Motion.`

On or about October 6§ 2014, Petitioner-received the above response and
because Petitioner is proceeding pro se and unversed in law, coupled with

the fact that Petitioner works in UniCorQ_from the hours of 7:30 to 3:00pm

a thrity-day enlargement of time is necessitated in the interest of Justiee
to.afford Petitioner an adequete time to fashion a resply to the government's
response to Petitioner's 13 U.S.C. §3582 (c)(2).

 

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Eastern District of Louisiana
Deputy C|erk

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Wherefore, the foregoing reasons, Petitioner prays that this court enter
an order granting Petitioner a thirty-day enlargment of time in which to'
reply to the government's response to Petitioner's 18 U.S.C. §3582(€)(2)
motion.

Respectfully Submitted,

:XSVH@L e4Z»~t§§svaak . Date: 10/15/2014

JAMAL SAMAK #21826~034
U.S.P. Atlanta

P.O. BOX 150160
Atlanta, GA. 30315

CERTIFICATE OF SERVICE

I HEREBY CERTIFY- that a copy Of the foregoing NOTION FOR ENLARGMENT OF m
TIME. was placed in the institutional legal depository with first class
postage addressed to:

AUsA DLAHE HoLLENsHEAD-COPES

650 POYDRAS ST. SUITE 1600

NEW ORLEANS. LA. 70130

ON THIS 15th DAY OF OCTOBER 2014.

/S/ M¢M§W .
JAMAL SAMAK #21826-031

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